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                     UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE NIASPAN ANTITRUST             MDL No. 2460
LITIGATION
                                    Master File No. 2:13-md-2460
THIS DOCUMENT RELATES TO:
                                    Hon. Timothy J. Savage
All Actions
                                    FILED UNDER SEAL



           DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO
          PLAINTIFFS’ MOTION TO EXCLUDE CERTAIN TESTIMONY OF
               DEFENDANTS’ EXPERT BRUCE E. STANGLE, Ph.D.
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     FILED UNDER SEAL
